
670 F.Supp. 1004 (1987)
EAST CHILLIWACK FRUIT GROWERS CO-OPERATIVE, Plaintiff,
v.
UNITED STATES et al., Defendants.
Court No. 85-07-00978.
United States Court of International Trade.
September 8, 1987.
Bogle &amp; Gates, Joel R. Junker, Christopher N. Weiss and Peter L. Miller, Seattle, Wash., for plaintiff.
Richard K. Willard, Asst. Atty. Gen., David M. Cohen, Director, Commercial Litigation Branch, Civ. Div., U.S. Dept. of Justice, J. Kevin Horgan, and Office of Asst. Gen. Counsel for Import Admin., U.S. Dept. of Commerce, Eileen P. Shannon, Washington, D.C., for defendants.
Kilpatrick &amp; Cody, Joseph W. Dorn and Anthony H. Anikeeff, Washington, D.C., for the intervenor-defendants.

MEMORANDUM &amp; ORDER
AQUILINO, Judge:
The court remanded this action to the International Trade Administration, U.S. Department of Commerce ("ITA") for further proceedings in compliance with its Slip Op. 87-16, 11 CIT ___, 655 F.Supp. 499 (1987).
The ITA has submitted the results of those proceedings to which the plaintiff does not object. Having reviewed the remand results, the court finds them to be consistent with its order and notes in passing that the plaintiff is covered by the final remand results in the related case, Washington Red Raspberry Commission v. United States, CIT Consolidated Court No. 85-06-00789.
The results on remand are hereby affirmed, and judgment will enter dismissing this action.
So ordered.
